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EXHIBIT 2

SEC Letter, dated December 22, 2017

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UNITED STATES
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DlVlSlON OF (303) 844-1084
ENFORCEMENT carly|ez@sec.gov

December 22, 2017

Via Email

l‘vlaranda E. Fritz Brent R. Baker
Thompson Hine LLP Aaron D. Lebenta

335 Madison Avenue, 12th Floor Jonathan D. Bletzacker
New York, New York 10017-461 1 CLYDE SNOW & SESSIONS

One Utah Center, 13th F|oor
201 South Main Street
Salt Lake City, Utah 84111-2216

Re: SEC v. Alpine Securities Corporation, I .'1 7-CV-041 79-DLC
Dear Alpine Counsel:

We are writing to follow up on our telephone call of December 12, 2017, in which we
discussed your letter dated November 22, 2017, and our responsive letter dated December l l,
2017, related to certain of the Securities and Exchange Commission’s (“SEC” or “Commission”)
interrogatory responses in this matter.

ln your letter and in our telephone conversations, you have repeatedly claimed that
Alpine has insufficient information to understand the basis for the Commission’s allegations. In
fact, Alpine already has a great deal of information regarding the bases for the Commission’s
allegations in its Complaint. For example, the SEC has provided tables listing and categorizing
thousands of specific SARs and associated documents that the Commission contends constitute
violations and produced hundreds of thousands of associated documents to Alpine. In addition,
Alpine now has the detailed legal and factual analysis set forth in the Commission’s motion for
partial summaryjudgment. In sum, Alpine actually has a tremendous amount of detailed
information regarding the specific facts, as well as the legal analysis, that the SEC contends
supports its allegations in the Complaint.

Nonetheless, Alpine has propounded interrogatories that call for the Commission to
“identify all persons,” including its attorneys and other staff members, “with knowledge or
information” “conceming the allegations of deficiencies in SARS filed by Alpine...”, the
Commission’s “analysis of the SARs filed by Alpine that formed the basis for the allegations...”

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and various other internal analyses prepared by Commission staff in anticipation of this
litigation. Alpine Interrogatory Nos. 1, 2; see also Alpine lnterrogatory Nos. 5, 6, 10, ll.

Based on your November 22, 2017 letter and our conversations, it appears that Alpine
requested this information because it wants to depose the Commission’s attorneys regarding their
work in the investigation and their legal analysis leading up to the filing of the Complaint and/or
conduct a Rule 30(b)(6) deposition on these same topics. See, e.g., November 22, 2017 Letter at
2 (“we are seeking the identity of those who concluded, as a factual matter, that the SARS at
issue in this case were ‘deficient”’.. .“please identify the individuals that conducted the process,
even if you claim work product, so that we can seek appropriate relief.”), (“If, as you say, you
relied only on yourselves in the compilation and interpretation of relevant rules and regulations
and the application of it to Alpine’s files, then we are entitled at least to take a Rule 30(b)(6)
deposition to better understand the components of that analysis.”)

It should be obvious that it would be improper for Alpine to seek to depose Commission
attorneys or others working at their direction regarding the staff’s investigation and interpretation
of the facts and law leading up to the filing of this lawsuit. Your claim in your letter that you
want to depose these witnesses regarding “factual” issues does not make depositions of the
Commission’s attorneys or other staff who worked on this matter any less objectionable These
individuals are not “fact” witnesses with direct knowledge that would make any fact at issue in
this case more or less likely. Alpine already has the facts and legal authorities staff used to
complete its analysis. The facts are in Alpine’s own records which have been identified by the
Commission during discovery, and the authorities are publicly available and cited in the
Commission’s motion for partial summaryjudgment. Any questions asked of such witnesses
related to this case would necessarily call for their analyses of these facts and law, which is
information that is protected by any number of combinations of various protections and
privileges, including work product protection, attorney-client privilege, law enforcement
privilege, and deliberative process privilege. See, e.g., SEC v. Monterosso, 2009 WL 8708868,

*1 (S.D. Fla. June 2, 2009) (“The SEC is an enforcement agency that has no independent
knowledge of the facts underlying this action. The sole source of the SEC’s knowledge is derived
from the investigations its attorneys undertook in anticipation of litigation. Thus, the SEC argues,
any question on the “factual basis” for an allegation implicates attorney work product. The Court
agrees.”) Any attempt by Alpine to depose members of the Commission staff would be a
transparent ploy to improperly seek privileged and protected information and, in the event Alpine
seeks such discovery, the Commission will seek all available relief from the Court.

The analysis is the same if Alpine seeks a Rule 30(b)(6) deposition of the Commission.
You claim in your November 22, 2017 Letter that Alpine is “entitled” to take a Rule 30(b)(6)
deposition of the Commission “to better understand the components of the [Commission’s]
analysis” and its “compilation and interpretation of relevant rules and regulations and the
application of it to Alpine’s files...” This is wrong. What you describe is quintessential protected
work-product and privileged information, and any attempt to obtain this information, including
purportedly “factual” information, through a Rule 30(b)(6) deposition is just as objectionable as
trying to directly depose the Commission’s attomeys. See, e.g., SEC v. Rosenfeld, 1997 WL
576021, *3 (S.D.N.Y. Sept. 16, 1997) (“Rather than using interrogatories and Requests to
Produce Documents and then taking the necessary oral discovery from the witnesses with
knowledge of the facts alleged in the complaint, [the defendant] seeks to explore the extent of` the

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SEC’s knowledge (how much it knows and how much it does not know) as a result of the
investigative efforts of its attorneys This Rule 30(b)(6) discovery is obviously aimed at finding
the nature of the SEC’s attorney work product, and is denied for that reason.”); SEC v. NIR
Group, LLC, 2013 WL 5288962, *5 (E.D.N.Y. 2013) (quashing Rule 30(b)(6) deposition of
SEC; “Even assuming that the SEC’s analyses of the investigation and impending litigation
were relevant, such documents and determinations would be subject to protections under, inter
alia, the attorney work-product privilege ....”); SEC v. Buntrock, 2004 WL 1470278, *3 (N.D.
Ill. June 29, 2004) (quashing Rule 30(b)(6) notice of SEC; “[T]hrough its attomeys, the SEC
conducted an investigation prior to filing the complaint in this matter, and in the discovery
phase of this case, the SEC has produced to defendants the facts collected during that
investigation No one at the SEC has any firsthand knowledge of the facts at issue in this case....
[O]ther courts presented with 30(b)(6) notices similar to [defendant’s] have reached the same
conclusion.”).

In its November 22, 2017, Letter Alpine asked the Commission to identify individuals
that “conducted the [analysis of deficient SARs], even if you claim work product, so that
[Alpine] can seek appropriate relief`.” See November 22, 2017 Letter at 2. Based on our
telephone conversation, we understand that Alpine has limited the relevant interrogatories to a
request for the identity of an individual at the Commission who analyzed facts and law and
conducted analyses prior to the filing of the Complaint. In an effort to resolve the present
discovery dispute regarding the Commission’s interrogatory responses, and without waiving our
numerous objections in our interrogatory responses and to any attempt by Alpine to depose
Commission employees or obtain other discovery, the Commission identifies James Lyman,
Senior Counsel, Division of Enforcement. To be clear, if Alpine seeks to depose Mr. Lyman or
any other of the Commission’s attorneys and staff members regarding their work on this case, the
Commission will vigorously oppose the improper discovery request and seek all available
remedies from the Court.

As noted in the SEC’s objections to Alpine’s interrogatories and our letter of December
1 1, 2017, many of the interrogatories are overbroad in that they call for the Commission to
“identify all persons” who reviewed or analyzed SARs filed by Alpine. See, e.g., Alpine
Interrogatory Nos. 7, 8, 9. Even just focusing on “all persons” at the Commission, these
interrogatories collectively appear to call for the Commission to identify any staff member who
ever reviewed SARs filed by Alpine, even if the review was years before the time period at issue
in this case, of SARs completely unrelated to this case, and by persons working in areas such as
market surveillance or examinations

Based on our telephone call of December 12, 2017, we understand that what you want at
this point from these discovery requests is for the Commission to identify a staff member with
knowledge of an April 2015 “Deficiency Letter” from the Commission’s Office of Compliance
Inspections and Examinations (“OCIE”) to Alpine noting deficiencies in its SAR filings based on
OCIE’s examination of Alpine. Presumably, you want this information because to seek to depose
a Commission staff member regarding the letter and underlying examination of Alpine. This
would be improper.

The Commission staff’s knowledge regarding the examination and analyses underlying
the information in the letter is irrelevant to this case, As is evident from the Complaint itself`, the

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letter is referred to in the Complaint to show that Alpine received notice from regulators stating
that Alpine’s SAR filings were deficient, n_ot that any SAR filings w deficient. See Complaint,
para. 24 (in section titled “Although Regulators Have Repeatedly Cited Alpine for SAR Failures,
Alpine Has Not Meaningfully Improved the Implementation of its BSA Compliance Program”).
In other words, the SEC will use this letter for the non-hearsay purpose of showing that Alpine
received notice from OCIE of its findings that Alpine’s SAR filings Were insufficient and
Alpine’s resulting state of mind_ not for the truth or accuracy of the findings described in the
letter. See Amended Answer at 24 (Alpine admits it received the letter). Because the
Commission is not introducing the letter as evidence that Alpine’s SARs were deficient, and
Alpine’s state of` mind could not be impacted by information regarding the Commission’s
examination and internal analysis beyond what is provided in the letter, deposition testimony
from Commission staff with knowledge of the letter could not make any fact at issue in this case
more or less likely.

ln an effort to resolve the present discovery dispute regarding the Commission’s
interrogatory responses, and without waiving our numerous objections in our interrogatory
responses and to any attempt by Alpine to depose Commission employees or obtain other
discovery, the Commission identifies Denise Saxon, Assistant Regional Director, Broker-
Dealer/Transfer Agent Examinations as a Commission employee with knowledge of the
Deficiency Letter. Any attempt to depose Ms. Saxon would be improper because her knowledge
of the facts and analyses underlying the Deficiency Letter are not only irrelevant, but privileged
and protected, including by the deliberative process privilege and law enforcement privilege. To
be clear, if Alpine seeks to depose Ms. Saxon or any other of` the Commission’s staff members
regarding their work on OCIE’s examination of Alpine, the Commission will vigorously oppose
the improper discovery request and seek all available remedies from the Court.

Finally, in its letter dated November 22, 2017 and on our telephone call, Alpine requested
that the Commission identify all individuals from FinCEN who communicated with the
Commission about substantive issues in this case, As we noted in our letter dated December 1 1,
2017, this is well beyond the scope of Alpine’s Interrogatory No. 3, which is limited to FinCEN
individuals who actually reviewed the SARs “at issue” and identified deficiencies See Alpine
interrogatory No. 3 (requesting that the Commission “[i]dentify any individual employed or
acting on behalf of FinCen Who has reviewed the SARs at issue and identified any
deficiencies.”). We construe the request in the letter as a new and separate 'interrogatory. Our
response is below:

Resp_onse to Interrogatory No. 19: The Commission incorporates the “General
Objections” set forth in the Commission’s Response to Alpine Securities Corporation’s
First Set of Interrogatories dated November 6, 2017, In addition, the Commission objects
to this request to the extent it seeks information not relevant to the sufficiency of Alpine’s
records and that is protected by the law enforcement privilege, work product doctrine,
common interest doctrine, and Exchange Act Sections 24(d) and (f). The Commission
objects to this request to the extent it seeks non-substantive communications which could
not be relevant and the burden to identify and list each non-relevant procedural
communications vastly outweighs any benefit. Finally, the Commission objects to any
effort to depose or obtain other discovery from FinCEN or its staff regarding this case,

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Subject to these objections the Commission states that Commission staff had substantive
communications about this case with the following individuals at FinCEN: Kate Zernes,
Section Chief, Non-Bank Financial Institutions; Kristen Conway, Enforcement Of`ficer;
Al Zarate, Attorney-Advisor, Office of Chief Counsel. The communications occurred
between May ll, 2016 and present. The subjects of these communications included the
following: general description of the SEC’s case, the ability to use and disclose SARs in
this litigation in compliance with BSA rules and regulations regarding the confidentiality
of` SARs, the manner in which filers physically submit SARs to FinCEN, and Alpine’s
discovery request in the Letter dated November 22, 2017. The Commission did not
discuss any specific SARs or their content, and did not discuss interpretation of F inCEN
guidance with individuals at FinCEN in connection with this case at any time.

Sincerely,

s/ Zacharv T. Carlyle

Zachary T. Carlyle

Terry R. Miller

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